             Case: 3:20-cv-00842-jdp Document #: 8 Filed: 10/27/20 Page 1 of 1

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN
 TIMOTHY COLEMAN
 and TERRY DENISE COLEMAN,
                                                                            ORDER
         Plaintiffs,
 v.                                                                Case No. 20-cv-842-jdp


 DANE COUNTY JAIL
 and EAU CLAIRE COUNTY JAIL,

         Defendants.

       Plaintiff Timothy Coleman and Terry Denise Coleman have filed a proposed civil complaint.

Plaintiff Terry Coleman seeks to commence this lawsuit without prepayment of the filing fee pursuant

to 28 U.S.C. § 1915.

       From the affidavit of indigency plaintiff Terry Coleman has submitted, I find that she is unable

to prepay the fees and costs of commencing this action or to give security therefor.




                                                ORDER

       IT IS ORDERED that:

       1.       Plaintiff Terry Denise Coleman’s petition for leave to proceed without prepayment of

fees is GRANTED.

       2.      No further action will be taken in this case until the court has screened the complaint

pursuant to 28 U.S.C. § 1915 to determine whether the case must be dismissed because the complaint

is frivolous or malicious, fails to state a claim on which relief may be granted or seeks monetary relief

against a defendant who is immune from such relief. Once the screening process is complete, a separate

order will issue.

                       Entered this 27th day of October, 2020.

                                     BY THE COURT:

                                     /s/
                                     PETER OPPENEER
                                     Magistrate Judge
